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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OFPENNSYLVANIA


 IN RE: Susan Woolbert                                                       Chapter        13


                               Debtor (8)                              NO. 19-10509 AMC


                                                     ORDER

            Upon consideration of the Application for Compensation and Reimbursement of Expenses for the
    Law Ofﬁces of Anthony A. Frigo, Anthony A. Frigo, Esquire, counsel for Debtors (the “Application”),
    and upon Counse} for Debtors’ request to retain jurisdiction at the Motion to Dismiss hearing on July 9,
    2019, IT IS ORDERED THAT:

            1.      The case is dismissed.

            2.      Pursuant to 11 U.S.C. §349(b)(3), the undistributed, pre—conﬁrmation chapter 13 plan
                    payments held by the chapter 13 trustee shall not revest in the Debtors or any other entity
                    pending further order of this court.

                    A hearing shall be held on   Q/gﬂééé/ZDZZj/7                ,   at   //» "5’57   AM   in
                    Bankruptcy Courtroom N0. 5, US. Courthouse, 901 Market Street, Philadelphia, PA to
                    consider the Application.

                    Any other party who asserts an entitlement to the allowance of an administrative expense
                    pursuant to 11 U.S.C. §503(b) shall ﬁle its request with the court and serve all creditors
                    in accordance with the applicable rules of court no later than ﬁve (5) days before the
                    hearing date set forth in Paragraph 3 above.

                    Counsel for Debtors shall serve a copy of this Order on all creditors and interested parties
                    and ﬁle a Certiﬁcation of Service on or before   5’     ~   ﬁwléé/z         5‘
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ﬂJ/éé/Xf’é/g 0&7"?
                                                              United States Bankruptcy udge

    CC:             Anthony A. Frigo, Esquire
                    175 Strafford Ave. Suite One
                    Wayne, PA 19087

                   Susan Woolbert
                   520 Deerﬁeld Dr.
                   Norristown, PA 19003

                    William C. Miller, Esquire
                    Chapter 13 Standing Trustee
                    1234 Market Street
                    Suite 1813
                    Philadelphia, PA 19107
